Case 2:04-cV-02730-SHI\/|-tmp Document 19 Filed 05/19/05 Pagelon Page 26

Fll.lil`_"} 13‘1" _ D.{_;_
in THE UNITED srATEs DisTRicT coUR'r
FoR THE WESTERN DISTRICT oF TENNESSEE GF$ l£`z' ! 9 all 5= 50

 

 

WESTERN DmsloN
EQUAL EMPLoYMENT
oPPoRTUNITY CoMMIssIoN,
Plaintii"fJ
VS` No_ 04-2730-1\/13/1>

CLEVELAND CONSTRUCTION, lNC.,

Defendant.

 

ORDER GRANTING MOTION TO APPEAR PRO HAC VICE

 

Before the court is the May 17, 2005 motion for admission pro hac vice of J' ames D.
Ludwig. Mr. Ludwig is a member in good standing of the bars of the states of Kentucky
and Ohio and is admitted to practice before the Southern District of Ohio and the Eastern District
of Kentucky. Mr. Ludwig has obtained and is familiar With the local rules and professional
guidelines of this court. For good cause shown, the motion is granted and J ames D. Ludwig is
admitted to participate in this action as counsel for defendant Cleveland Construction, Inc.

lt is so ORDERED this lsn"day of May, 2005.

y y//w//______.__.._,

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This document entered on the docket heat in compliance
With Huie 58 and/or 79(3) FFICP on " “05

smser oURT - WESTERNDT"ISRIC oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:04-CV-02730 Was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

 

 

William A. Cash

EQUAL El\/[PLOYl\/[ENT OPPORTUNITY COl\/[MISSION
820 Louisiana

Ste. 200

Little Rock7 AR 72201

Henry T.V. Miller
MCDONALD KUHN
119 South Main St.
Ste. 400

1\/lemphis7 TN 38103

Faye A. Williams

EQUAL El\/[PLOYl\/[ENT OPPORTUNITY COl\/[MISSION
1407 Union Avenue

Ste. 621

1\/lemphis7 TN 38104

Lisa Ann Overall
MCDONALD KUHN
119 South Main St.
Ste. 400

1\/lemphis7 TN 38103

Katharine W. Kores

EQUAL El\/[PLOYl\/[ENT OPPORTUNITY COl\/[MISSION
1407 Union Avenue

Ste. 621

1\/lemphis7 TN 38104

J ames D. Ludwig

LAW OFFICE OF JAl\/[ES D. LUDWIG
5390 Corseview Dr

1\/lason7 OH 45040

Honorable Samuel Mays
US DISTRICT COURT

